                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION
                          NO. 5:19-CR-00220-19-D

UNITED STATES OF AMERICA

              V.



KELVIN FE ARELLANO-VALEN CIA :

          ORDER OF FORFEITURE AS TO PROCEEDS AND
   PRELIMINARY ORDER OF FORFEITURE AS TO OTHER PROPERTY

       WHEREAS, pursuant to the entry of a Memorandum of Plea Agreement by the

defendant, Kevin Fe Arellano-Valencia, on July 22, 2019, and the defendant's guilty

plea to an offense in violation of 18 U.S.C. § 371, the following property is hereby

forfeitable pursuant to 18 U.S.C. § 981(a)(l)(C), made applicable by 28 U.S.C.

§ 2641(c), to wit:

       (a) 2010 Chevrolet Express Cutaway Truck, VIN: 1GB6G3BG9A1142915, North

          Carolina License Plate JP5005 registered in the name of SAMUEL CRUZ;

       (b) 2008 Ford truck, VIN# 1FDWE35L38DA82953, North Carolina License Plate

          JK4077, registered to CLEAN RECOVERY INC;

       (c) 2008 Toyota Tundra pickup, VIN: 5TBBV54198S518443, North Carolina License

          Plate Number FEP4720, registered in the name of BIO RECYCLING SERVICES

          CO;

       (d) 2007 Mitsubishi Sterling box truck, VIN# JLSBBG 1S87K011671, North Carolina

          License Plate JL6704, registered to CLEAN RECOVERY INC;



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       (e) Box truck with white cab and yellow cargo area, DOT# 2913844, No license plate,

            registered to TRAP BOYS INC;

       (f) 2015 Nissan Rogue, VIN: 5NlAT2MV3FC757765, New York License Plate

            HXK8608, registered in the name of Reyna Ramirez;

       (g) 2015 Ford Mustang, VIN: 1FA6P8TH0F5320863, North Carolina License Plate

            Number EKJ4006, registered in the name of GREGORIO VASQUEZ-CASTILLO;

            and

       (h) $10,380.00, representing proceeds that the defendant personally obtained

            directly or indirectly as a result of the criminal violation, and for which the

            United States may forfeit substitute assets pursuant to 21 U.S.C. § 853(p).

       AND WHEREAS, by virtue of said guilty plea and the defendant's agreement

therein, the United States is now entitled to entry of a Preliminary Order of

Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(2); and to seize the specific property

subject to forfeiture, to conduct any discovery the Court considers proper in

identifying, locating, or disposing of the property, and to commence proceedings that

comply with any statutes governing third-party rights, as provided by Fed. R. Crim.

P. 32.2(b)(3);

                 It is hereby ORDERED, ADJUDGED and DECREED:

       1.        That pursuant to 21 U.S.C. § 853(a), the defendant shall forfeit

$10,380.00 to the United States as property constituting or derived from proceeds

obtained, directly or indirectly, as a result of the said offenses.

       2.        That pursuant to Rule 32.2(e) of the Federal Rules of Criminal

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Procedure, the United States may move to amend this Order at any time to substitute

specific property to satisfy this Order of Forfeiture in whole or in part. Any and all

forfeited funds shall be deposited by the U.S. Department of Justice or the U.S.

Department of the Treasury, as soon as located or recovered, into the U.S.

Department of Justice's Assets Forfeiture Fund for U.S. Department of the Treasury's

Assets Forfeiture Fund in accordance with 28 U.S.C. § 524(c) and 21 U.S.C. § 881(e).

       3.    That based upon the Memorandum of Plea Agreement, all of the

defendant's interests in the identified personal property listed herein are herewith

forfeited, subject to the provisions of 21 U.S.C. § 853(n).

       4.        That pursuant to 21 U.S.C. § 853(n), the United States shall publish

notice of this Order and of its intent to dispose of the property in such a manner as

the Attorney General or the Secretary of Treasury directs, by publishing and sending

notice in the same manner as in civil forfeiture cases, as provided in Supplemental

Rule G(4).   Any person other than the defendant, having or claiming any legal

interest in the subject property must file a petition with the Court within 30 days of

the publication of notice or of receipt of actual notice, whichever is earlier.

       The petition must be signed by the petitioner under penalty of perjury, and

shall set forth the nature and extent of the petitioner's right, title, or interest in the

subject property, and any additional facts supporting the petitioner's claim and the

relief sought.

       5.    That upon adjudication of all third party interests this Court will enter


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a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(n)(6).

      6.     That upon sentencing and issuance of the Judgment and Commitment

Order, the Clerk of Court is DIRECTED to incorporate a reference to this Order of

Forfeiture in the applicable section of the Judgment, as required by Fed. R. Crim. P.

32.2(b)(4)(B). In accordance with Fed. R. Crim. P. 32.2(b)(4)(A), this Order shall be

final as to the defendant upon entry.

      so ORDERED.       This 1!t... day of   Od,,w       , 2020



                                         J   ES C. DEVER, III
                                         United States District Judge




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